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                    IN THE UNITED STATES DISTRICT COURT
                                  FOR THE
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

v.                                              Case No. 21 CR 698
                                                Judge Robert W. Gettleman
RONALD MOLO,

Defendant.

                                      ORDER

In person plea hearing held on 12/1/2022. Defendant enters plea of guilty to Count
One of the Indictment. Defendant advised of his rights. Plea of guilty is accepted.
Enter plea agreement. Enter finding of guilty. Cause is referred to the Probation
Department for a pre-sentence investigation and report. In person sentencing is set
for 3/21/2023 at 10:00 a.m. Sentencing briefs are due by 3/7/2023.

       Pursuant to 18 U.S.C. § 3664(d)(1), if restitution is being sought in this case,
60 days prior to the sentencing date, the Government shall provide the Probation
Office and the courtroom deputy an electronic standardized spreadsheet (available
on the Court’s website) with a list of victims and their full current contact
information. This list shall include any amounts subject to restitution. If the
Government is not able to provide the full victim list 60 days prior to sentencing,
they shall file a motion to request an extension of time to compile the information,
to the extent permitted by 18 U.S.C. § 3664(d)(5).

(00:35)

Date: 12/1/2022
                                              United States District Judge
                                              Robert W. Gettleman
